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                                     #:15011



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13 STEADFAST NETWORKS, LLC
14                     UNITED STATES DISTRICT COURT
15                 CENTRAL DISTRICT COURT OF CALIFORNIA
                             WESTERN DIVISION
16
17   ALS SCAN, INC.,                           Case No.: 2:16-cv-05051-GW-AFM
18   a Maryland Corporation,
                                               [PROPOSED] ORDER GRANTING
19   Plaintiff,                                DEFENDANT STEADFAST
20                                             NETWORKS, LLC’S MOTION FOR
     v.                                        AN AWARD OF ATTORNEYS’ FEES
21                                             AND EXPENSES
22   CLOUDFLARE, INC.
     a Delaware corporation,                   Hearing Date: June 18, 2018
23
     et al.                                    Hearing Time: 8:30am
24                                             Place: Courtroom 9D, 9th Fl.
25   Defendants.                                      350 West 1st Street
                                                      Los Angeles, CA, 90012
26                                             Judge: Hon. George H. Wu
27
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       [PROPOSED] ORDER GRANTING DEFENDANT STEADFAST NETWORKS, LLC’S MOTION FOR AN AWARD OF
                                   ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 530-1 Filed 05/14/18 Page 2 of 3 Page ID
                                     #:15012



 1         The matter before this Court is Defendant Steadfast Networks, LLC’s
 2 (“Steadfast”) post-judgment motion for an award of attorneys’ fees and expenses.
 3 On June 18, 2018, the Court held a hearing on this matter.
 4         After full consideration of the papers in support of and in opposition to the
 5 motion, the supporting evidence, and the parties’ arguments at the hearing, the
 6 Court finds Steadfast entitled to an award of attorneys’ fees and non-taxable costs
 7 and GRANTS the motion. The Court AWARDS Steadfast reasonable attorneys’
 8 fees in the amount of $578,878, its fair estimate of fees in the amount of $19,611,
 9 and non-taxable costs in the amount of $35,208.74.
10
11 Dated: __________________
12                                          _________________________________
13                                          Hon. George H, Wu
14                                           United States District Court Judge
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       [PROPOSED] ORDER GRANTING DEFENDANT STEADFAST NETWORKS, LLC’S MOTION FOR AN AWARD OF
                                   ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 530-1 Filed 05/14/18 Page 3 of 3 Page ID
                                     #:15013



 1                                 PROOF OF SERVICE
 2
   I, Colin T.J. O’Brien, certify that I am an attorney at law, licensed to practice in the
 3 State of Illinois and I am admitted to appear before the United States District Court
 4 for the Central District of California, and a true copy of the foregoing document
   [PROPOSED] ORDER GRANTING DEFENDANT STEADFAST
 5 NETWORKS, LLC’S MOTION FOR AN AWARD OF ATTORNEYS’ FEES
 6 AND EXPENSES was served via electronic filing to the following parties in this
   action via their counsel:
 7
 8         ALS Scan, Inc.
 9
     A true copy of the foregoing document was hand delivered to:
10
11 Hon. George H. Wu
   U.S. District Court
12
   350 W. 1st Street
13 Courtroom 9D
14 Los Angeles, CA 90012
15 Via attorney service
16
          I declare under penalty of perjury under the laws of the United States that
17
   the foregoing is true and correct.
18
19
20 Dated: May 14, 2018                             /s/ Colin T.J. O’Brien
                                                   Attorney for Defendant
21                                                 Steadfast Networks, LLC
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       [PROPOSED] ORDER GRANTING DEFENDANT STEADFAST NETWORKS, LLC’S MOTION FOR AN AWARD OF
                                   ATTORNEYS’ FEES AND EXPENSES
